Case: 2:22-cv-02653-ALM-CMV Doc #: 6-2 Filed: 07/01/22 Page: 1 of 6 PAGEID #: 109




                Exhibit B
          Case: 2:22-cv-02653-ALM-CMV Doc #: 6-2 Filed: 07/01/22 Page: 2 of 6 PAGEID #: 110




From:                              Folland, Rob
Sent:                              Friday, July 1, 2022 1:34 PM
To:                                Justin M. Alaburda
Cc:                                DeVillers, David; Paragas, David; Bartolozzi, Jeff; Victoria Ferrise
Subject:                           RE: Student Resource Center/Eastern Gateway Community College
Attachments:                       Marbley Order.pdf


Justin,

Please be advised of the attached order that was just entered by Judge Marbley. To the extent you are unable to talk
today or over the weekend, we will look forward to seeing you in person in Columbus at 9:00 am next Tuesday.

If you schedule does not permit you to contact us prior to Tuesday morning, please enjoy your holiday and we will look
forward to seeing you in person next week.


 Rob Folland | Partner
 Admitted to practice in Florida, Kentucky, Ohio, and Pennsylvania
 Barnes & Thornburg LLP
 4540 PGA Boulevard, Suite 208, Palm Beach Gardens, FL 33418
 41 S. High Street, Suite 3300, Columbus, OH 43215-6104
 Direct: (614) 628-1429 | Mobile: (440) 213-3112 | Fax: (614) 628-1433




 Atlanta | Boston | California | Chicago | Delaware | Indiana | Michigan | Minneapolis
 New York | Ohio | Raleigh | Salt Lake City | Texas | Washington, D.C.




From: Folland, Rob
Sent: Friday, July 1, 2022 11:41 AM
To: 'Justin M. Alaburda' <jmalaburda@bmdllc.com>
Cc: DeVillers, David <DDeVillers@btlaw.com>; Paragas, David <David.Paragas@btlaw.com>; Bartolozzi, Jeff
<Jeff.Bartolozzi@btlaw.com>; Victoria Ferrise <vlferrise@bmdllc.com>
Subject: RE: Student Resource Center/Eastern Gateway Community College

Thank you Justin. To that end please advise ASAP your schedule for next Tuesday and Wednesday. We have called
chambers and the Court would like to know when on those days you will be available for the LR 65.1 scheduling
conference with Judge Marbley. Both David DeVillers and I are available anytime on Tuesday for the conference and
Wednesday is workable as well, but with more challenges.

I also suggest, if at all possible that we have a call later today or over the weekend. I realize Monday is July 4 and timing
is not ideal. However, given the fast approach of July 11, it will be necessary to hold the PI hearing next week. My strong
preference would be to discuss matters with you in advance but obviously, we will proceed as necessary to the extent
your schedule will not allow us to talk prior to the 65.1 conference. If we do not talk, however, be advised we will be
seeking a hearing on either Thursday July 7 or Friday July 8.
                                                              1
       Case: 2:22-cv-02653-ALM-CMV Doc #: 6-2 Filed: 07/01/22 Page: 3 of 6 PAGEID #: 111



 Rob Folland | Partner
 Admitted to practice in Florida, Kentucky, Ohio, and Pennsylvania
 Barnes & Thornburg LLP
 4540 PGA Boulevard, Suite 208, Palm Beach Gardens, FL 33418
 41 S. High Street, Suite 3300, Columbus, OH 43215-6104
 Direct: (614) 628-1429 | Mobile: (440) 213-3112 | Fax: (614) 628-1433




 Atlanta | Boston | California | Chicago | Delaware | Indiana | Michigan | Minneapolis
 New York | Ohio | Raleigh | Salt Lake City | Texas | Washington, D.C.




From: Justin M. Alaburda <jmalaburda@bmdllc.com>
Sent: Friday, July 1, 2022 11:11 AM
To: Folland, Rob <Rob.Folland@btlaw.com>
Cc: DeVillers, David <DDeVillers@btlaw.com>; Paragas, David <David.Paragas@btlaw.com>; Bartolozzi, Jeff
<Jeff.Bartolozzi@btlaw.com>; Victoria Ferrise <vlferrise@bmdllc.com>
Subject: [EXTERNAL]Re: Student Resource Center/Eastern Gateway Community College

Rob,

Thank you for your email. I am in meetings today but will review your filings and email.

Of course, we will need to discuss your questions with our client before we can respond. I expect that we will
be in position to have a discussion and respond by the middle of next week, at which time we would be happy
to join you in a call with the Court.

Thanks,
Justin


       On Jul 1, 2022, at 10:58 AM, Folland, Rob <Rob.Folland@btlaw.com> wrote:

       **External User**

       Good morning Justin,

       My partner David DeVillers and I just attempted to reach you on the phone concerning the
       attached case that was filed yesterday. We understand from Victoria Ferrise that you will be
       taking the lead on this matter for EGCC.

       As you are likely aware, the case has been assigned to Judge Marbley and we have filed a motion
       for a preliminary injunction to be heard and ruled upon prior to July 11. As such, we will need to
       inquire with Judge Marbley today as to scheduling.

                                                            2
Case: 2:22-cv-02653-ALM-CMV Doc #: 6-2 Filed: 07/01/22 Page: 4 of 6 PAGEID #: 112


The Motion for PI asks for two things:

1.    That EGCC be enjoined from terminating the Collaboration Agreement on July 11
pending determination of the pending breach of contract issues and the contract resolution /
termination provisions.

2.     That EGCC be enjoined from any actions to start a competing business operation in
violation of the Collaboration Agreement pending resolution of the contract issues.

As you may have seen, SRC has submitted declarations to the court asserting certain factual
elements relating to the contract terms and EGCC’s actions to set up a competing business. For
the purposes of planning for the PI hearing and in order to streamline issues for the Court and the
parties, SRC would like to know:

1. Does EGCC dispute or wish to present evidence at the PI hearing concerning SRC’s belief that
EGCC intends to terminate the contract on 7/11/22
2. does EGCC dispute or wish to present evidence at the PI Hearing concerning SRC’s belief that
EGCC is starting a competing business to be formed under the Collaboration Agreement that will
go into operation on 7/11.

To the extent you believe there is a dispute as to facts on these points, we can advise Judge
Marbley and will need to obtain his views as to the presentation of evidence. Otherwise, I think
we can substantially simply the PI hearing as it will only require oral argument

Also note that we have filed our complaint and PI motion under seal as we were unsure as to
whether EGCC desires to argue that the Collaboration Agreement must be kept confidential. To
the extent EGCC agrees that no confidentiality is warranted, SRC will withdraw its motion to file
under seal and make the applicable filings public.

We will be reaching out to Judge Marbley’s chambers shortly to advise of the filing of the PI
motion so it is important that we hear from you as soon as possible. Obviously, to the extent you
wish to participate in any calls with the Court, we will coordinate with you and place a joint call
to the Court.

Please contact David DeVillers and myself at your earliest convenience. If we do not hear from
you by noon today, we will reach out to Judge Marbley’s chambers concerning our motion.


Rob Folland | Partner
Admitted to practice in Florida, Kentucky, Ohio, and Pennsylvania
Barnes & Thornburg LLP
4540 PGA Boulevard, Suite 208, Palm Beach Gardens, FL 33418
41 S. High Street, Suite 3300, Columbus, OH 43215-6104
Direct: (614) 628-1429 | Mobile: (440) 213-3112 | Fax: (614) 628-1433
[http://btdirectory.btlaw.com/images/bt%20logo%20sig%20test%202.gif]
Atlanta | Boston | California | Chicago | Delaware | Indiana | Michigan | Minneapolis
New York | Ohio | Raleigh | Salt Lake City | Texas | Washington, D.C.



                                                 3
       Case: 2:22-cv-02653-ALM-CMV Doc #: 6-2 Filed: 07/01/22 Page: 5 of 6 PAGEID #: 113

       From: Lantz, April <April.Lantz@btlaw.com>
       Sent: Thursday, June 30, 2022 3:55 PM
       To: vlferrise@bmdllc.com
       Cc: Paragas, David <David.Paragas@btlaw.com>; DeVillers, David <DDeVillers@btlaw.com>;
       Folland, Rob <Rob.Folland@btlaw.com>
       Subject: Student Resource Center/Eastern Gateway Community College

       Attached are copies of pleadings filed today in the United States District Court, Southern District
       of Ohio Case No. 2:22-cv-02653.

       April Lantz | Legal Administrative Assistant
       Barnes & Thornburg LLP
       41 S. High Street Suite 3300, Columbus, OH 43215-6104
       Direct: (614) 628-1468
       [https://www.btlaw.com/-/media/images/btlaw/Site-
       Logo/BTLawLogo_blk]<https://www.btlaw.com/>
       [https://www.btlaw.com/-
       /media/Images/BTLaw/Exclaimer_Images/Exclaimer_linkedin]<https://www.linkedin.com/comp
       any/barnes-&-thornburg-llp/>
       [https://www.btlaw.com/-
       /media/Images/BTLaw/Exclaimer_Images/Exclaimer_twitter]<https://twitter.com/BTLawNews>
       [https://www.btlaw.com/-
       /media/Images/BTLaw/Exclaimer_Images/Exclaimer_locations%20esig%20121019]<https://ww
       w.btlaw.com/en/locations>

       Visit our Subscription Center to sign up for legal insights and
       events.<https://insights.btlaw.com/6/468/forms/subscribe.asp?utm_source=outlook&utm_mediu
       m=email&utm_campaign=contact_reengagement&utm_content=signature>


       CONFIDENTIALITY NOTICE: This email and any attachments are
       for the exclusive and confidential use of the intended recipient. If
       you are not the intended recipient, please do not read, distribute
       or take action in reliance upon this message. If you have received
       this in error, please notify us immediately by return email and
       promptly delete this message and its attachments from your
       computer system. We do not waive attorney-client or work product
       privilege by the transmission of this message.



Notice: The information contained in this electronic mail transmission is intended by Brennan, Manna &
Diamond, LLC for the use of the named individual or entity to which it is directed and may contain information
that is privileged or otherwise confidential. It is not intended for transmission to, or receipt by, anyone other
than the named addressee (or a person authorized to deliver it to the named addressee). It should not be copied
or forwarded to any unauthorized persons. If you have received this electronic mail transmission in error, please
delete it from your system without copying or forwarding it, and notify the sender of the error by reply email or
by calling Brennan, Manna & Diamond, LLC at 1-330-253-5060, so that our address record can be corrected.




                                                        4
Case:
 Case:2:22-cv-02653-ALM-CMV
       2:22-cv-02653-ALM-CMVDoc
                             Doc#:#:6-2
                                     5 Filed:
                                        Filed:07/01/22
                                               07/01/22Page:
                                                        Page:16ofof16 PAGEID
                                                                       PAGEID#:#:100
                                                                                  114



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

STUDENT RESOURCE CENTER,

               Plaintiff,                             Case No. 2:22-cv-2653

       v.                                         .   Chief Judge Algenon L. Marbley

EASTERN GATEWAY COMMUNITY                             Magistrate Judge Chelsey M. Vascura
COLLEGE,

               Defendant.

                  ORDER SETTING LOCAL RULE 65.1 CONFERENCE

       This matter is set for a status conference pursuant to Local Rule 65.1 on Tuesday, July 5,

2022, beginning at 9:00 a.m. Counsel for the parties are to appear in Courtroom 1, Room 331 of

the U.S. Courthouse located at 85 Marconi Boulevard in Columbus, Ohio. The status conference

may not be continued by stipulation of the parties or counsel, but only by an order of the Court on

good cause shown. Plaintiff's counsel must promptly inform the adverse party of the status

conference, as set forth in Local Rule 65.1(a).

       At the status conference, the Court will address Plaintiff's Motion for a Preliminary

Injunction (ECF No. 2) and any issues necessary for a just resolution of the pending action.

       IT IS SO ORDERED.



                                              ALGEN N I . MARBLEY
                                              CHIEF UMtED STATES-D1S-'F
DATED: July 1, 2022
